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 6   DriveWealth, LLC
 7
 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11   DRIVEWEALTH, LLC                            Case No. 19­10550
12
                        Plaintiff,
13                                               COMPLAINT FOR INJUNCTION
           v.                                    IN AID OF ARBITRATION
14
     ELECTRONIC TRANSACTION
15   CLEARING, INC., APEX CLEARING
     CORP., AND PEAK6 INVESTMENTS,
16   LLC
17
                        Defendant.
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 1            Plaintiff DriveWealth, LLC (“Plaintiff” or “DriveWealth”) by and through its
 2   attorneys, Kelley Drye & Warren LLP, as and for its Complaint for Injunction in
 3   Aid of Arbitration against Defendants Electronic Transaction Clearing, Inc.
 4   (“ETC”), Apex Clearing Corp. (“Apex”), and/or PEAK6 Investments, LLC
 5   (“PEAK6”) (collectively referred to herein as “Defendants”) alleges as follows:
 6                                        THE PARTIES
 7            1.    Plaintiff DriveWealth is a limited liability company duly organized
 8   under the Laws of New Jersey with its principal place of business at 97 Main Street,
 9   Chatham, NJ 07928.
10            2.    Defendant ETC is a corporation duly organized under the laws of
11   Delaware with its principal place of business at 660 S. Figueroa Street Suite 1450,
12   Los Angeles, CA 90017. Upon information and belief, ETC is directly or indirectly
13   owned (75% or more) by PEAK6.
14            3.    Defendant Apex is a corporation duly organized under the laws of New
15   York with its principal place of business at One Dallas Center, 350 N. St. Paul, Suite
16   1300, Dallas, TX 75201. Defendant Apex is licensed and transacts business within
17   the state. Upon information and belief, Apex is directly or indirectly owned (75%
18   or more) by PEAK6.
19            4.    Defendant PEAK6 is a company duly organized under the laws of
20   Delaware with its principal place of business at 141 W. Jackson Blvd. Suite 500
21   Chicago, IL 60604. Defendant PEAK6 is licensed and transacts business within the
22   state.
23                              JURISDICTION AND VENUE
24            5.    This Court has diversity jurisdiction over the subject matter of this
25   action pursuant to 28 U.S.C. § 1332. The matter in controversy exceeds the sum of
26   $75,000, exclusive of interest and costs, and is between citizens of different states.
27            6.    Venue is proper in this District and before this Court, pursuant to 28
28   U.S.C. § 1391, because Defendant ETC resides in this district and a substantial part
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 1   of the events giving rise to the claims asserted herein occurred in this district.
 2         7.        Plaintiff is required to arbitrate this dispute pursuant to Rule 13200(a)
 3   of the Financial Industry Regulatory Authority (“FINRA”) Code of Arbitration
 4   Procedure for Industry Disputes (hereinafter “Industry Code”). Plaintiff filed this
 5   action for the limited purpose of seeking a Temporary Restraining Order and
 6   Preliminary Injunction against Defendants to preserve the status quo pending the
 7   outcome of that arbitration. PMS Distrib. Co. v. Huber & Suhner, A. G., 863 F.2d
 8   639, 641-42 (9th Cir. 1988).
 9                                 GENERAL ALLEGATIONS
10                                    The Roles of the Parties
11         8.        DriveWealth is a privately held, successful, stable and growing
12   clearing firm that provides a platform for introducing firms to enter securities trades,
13   in equities, exchange-traded fund (ETFs), and American depositary receipts
14   (ADRs).
15         9.        DriveWealth is a broker-dealer registered with the SEC and a member
16   of FINRA, and in connection with the instant dispute, is the clearing firm.
17         10.       DriveWealth provides access to the U.S. markets and services for U.S.
18   and foreign registered introducing broker-dealers and registered investment
19   advisors.
20         11.       An introducing broker (“IBs”), or correspondent, is a broker in the
21   securities markets who maintains a relationship with its retail customers, but
22   delegates the work of the floor operation and trade execution to its clearing firm
23   which handles all back office aspects of the securities transactions.
24         12.       Among other things, IBs provide necessary means for customers to
25   place trades, either via a front-end customer interface, or, in the more traditional
26   model, via a designated account executive, and introduce the customer to the
27   clearing firm which provides the necessary back office functions for the customer
28   relationship.
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 1         13.    In connection with the instant dispute, the IBs are DriveWealth’s
 2   customers, each of which has its own platform to allow the end-user client to enter
 3   trades. DriveWealth offers technology allowing its customers the ability to custom
 4   tailor offerings to the end-user client, such as offering real time fractional share
 5   trading.
 6         14.    DriveWealth’s business offers a low risk business profile. DriveWealth
 7   offers only securities listed on the NYSE and NASDAQ that meet rigorous listing
 8   requirements, ETFs, and ADRs. The majority of DriveWealth’s business is for
 9   customers who buy and pay for quality securities in cash accounts governed by
10   Regulation T, 12 CFR §220. A de minimus portion of the assets under management
11   by DriveWealth is in margin accounts.
12         15.    As a securities broker-dealer that is not “self-clearing” (i.e., is not a
13   member of the Depository Trust and Clearing Corporation (the “DTCC”) and
14   therefore does not hold customer securities or property), DriveWealth is required,
15   and contracts to engage, the services of a clearing firm for purposes of custodial
16   services with the DTCC (“DTC Custodian”).
17         16.    For DriveWealth, the DTC Custodian is necessary to hold the securities
18   that are traded, and DriveWealth maintains an account with such DTC Custodian on
19   an omnibus basis. Without the services of a DTC Custodian, the buy and sell orders
20   placed by customers of IBs would not be executed or completed, and DriveWealth
21   could not conduct its business.
22         17.    In exchange for performing these essential services for Clearing Firms,
23   DTC Custodians charge fees and earn revenue on the balances they hold. DTC
24   Custodians also generally require the Clearing Firms to provide liquid security (e.g.,
25   cash or securities) against risk by depositing a set amount of money with the DTC
26   Custodian, which is frequently referred to within the industry as a Clearing Deposit.
27         18.    It is standard for DTC Custodians to establish the amount of each
28   Clearing Deposit by examining the Clearing Firm’s: (i) mix of business; (ii)
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 1   customer base; (iii) capitalization; and (iv) history of operations. The greater the
 2   risk posed, the higher the Clearing Deposit.
 3         19.    Prior to 2017, DriveWealth contracted with the Industrial and
 4   Commercial Bank of China Financial Services (“ICBCFS”) to act as its DTC
 5   Custodian. Beginning on or about August 22, 2017, DriveWealth began negotiating
 6   with ETC in order to transition the business from ICBCFS to ETC. Those
 7   negotiations were consummated in the Omnibus Clearing Agreement, dated
 8   November 1, 2017 (the “2017 OCA”). DriveWealth finished transitioning its
 9   business from ICBCFS to ETC on approximately May 14, 2018. For the most part,
10   the relationship was satisfactory to DriveWealth.
11         20.    Significantly, DriveWealth’s customers never defaulted or reneged on
12   any trades and there was no rogue trading. No customer complaints or arbitrations
13   were threatened, much less commenced.
14         21.    Despite the absence of any added economic or regulatory risk to ETC,
15   on or about January 24, 2019, ETC and DriveWealth entered into an addendum to
16   the 2017 OCA which, inter alia, increased the Clearing Deposit, but left other fees
17   unchanged from the 2017 OCA. DriveWealth was not happy with, and saw no risk
18   based reason for this addendum, but agreed to it so as to not disrupt the stability of
19   its customers’ ability to conduct business in their accounts.
20         22.    In or about March 2019, ETC and DriveWealth began to renegotiate
21   the terms of the 2017 OCA, and after 5 months of negotiations, ETC and
22   DriveWealth executed a new Omnibus Clearing Agreement, dated August 5, 2019
23   (the “August 2019 OCA”).
24         23.    As part of the August 2019 OCA, ETC and DriveWealth agreed on a
25   Pricing Schedule.
26         24.    On or about September 9, 2019, Defendant PEAK6 acquired ETC and
27   brought it under the control of Defendant Apex, an existing subsidiary of PEAK6
28   and a primary competitor to DriveWealth. It appears that ETC and Apex are
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 1   operating as a joint venture and are sharing offices and employees in their dealings
 2   with DriveWealth. As described in the press release
 3   (https://www.prnewswire.com/news-releases/peak6-acquires-electronic-transaction-
 4   clearing-300913915.html):
 5                ETC’s institutional orientation will expand PEAK6’s
                  footprint in custody and clearing and is a direct
 6                complement to one of its core businesses, Apex Clearing,
                  which is primarily focused on the retail marketplace. The
 7                transaction will align ETC and Apex, two firms with a
                  shared mission to improve foundational financial
 8                processes with technology, and position both organizations
                  as alternatives to traditional custodians through the
 9                delivery of flexible, customizable, digital solutions that
                  facilitate speed and innovation.
10
                  “We look forward to exploring how stronger alignment
11                between the ETC and Apex Clearing brands can result in
                  growth and expansion for both companies and their
12                respective clients,” said Bill Capuzzi, partner at PEAK6
                  and Chief Executive Officer of Apex Clearing.
13                “Combining each firm’s distinct philosophy of leveraging
                  technology to enhance service and increase efficiency will
14                strengthen our commitment to leading the digital
                  revolution in custody and clearing.”
15
           25.    Defendant Apex, a subsidiary of Defendant PEAK6 and, as of
16
     September 9, 2019, a sister company to Defendant ETC, is a primary competitor to
17
     DriveWealth in the US marketplace.
18
          Immediately Following The Purchase of ETC By PEAK6, Defendants
19
         Demanded DriveWealth Agree to Exorbitant Price Increases and Later
20
        Threaten to Terminate the August 2019 OCA and Restrict DriveWealth’s
21
                                       Account Access
22
           26.    Immediately following the acquisition of ETC, on September 12, 2019,
23
     the CEO of Apex and Chairman of PEAK6 ETC Holdings LLC and advisor to ETC,
24
     William Capuzzi, emailed Robert Cortright, the CEO of DriveWealth, stating that
25
     “the current pricing for DriveWealth[] is well below industry standards” and
26
     requested that DriveWealth agree to a revised pricing schedule, notwithstanding that
27
     DriveWealth and ETC had negotiated these prices just one month before.
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 1         27.    DriveWealth’s business mix and risk profile had not changed and in
 2   fact have remained consistent and stable throughout the contractual relationship.
 3         28.    On September 23, 2019, Mr. Cortright responded, declining to amend
 4   the schedule, stating:
 5                The [August 2019 OCA] was the result of months of
                  balanced negotiations between the parties. We believe that
 6                the final contract addressed the business needs of both
                  ETC and DriveWealth in a fair and reasonable manner.
 7
 8         29.    Three days later, on September 26, 2019, Mr. Capuzzi threatened to
 9   terminate the August 2019 OCA if DriveWealth did not capitulate to the revised
10   pricing schedule by October 1 – three business days later.
11         30.    On October 1, 2019, William Brennan, CEO of ETC and also a registered
12   employee of Apex, sent an email attaching the proposed revised pricing schedule and
13   stating (emphasis added):
14         Please note that the new pricing schedule will become effective in 60
           days. To the extent that your contract contains an auto-renewal
15         provision, this constitutes notice of non-renewal or termination as
           applicable, although we hope our relationship will continue on the new
16         terms.
17         31.    The proposed revised pricing schedule contained material increases and
18   more than tripled the monthly minimum payment due to ETC under the August
19   2019 OCA.
20   //
21   //
22
     //
23
     //
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     //
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26   //
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 1   Category     August 2019 OCA             October 1, 2019       Percentage
 2                Pricing Terms               Proposed Terms        Change
 3   Term         One Year; automatic         3 years               200%
 4                one-year renewals
 5   Monthly      $12,500                     $50,000               300%
 6   Minimum
 7   Retail       Between $0.000075 and $0.002 per share            ~1500% to ~2567%
 8   Equity       $0.000125 per share         with a $0.25          on per share charge
 9   Trades       with no minimum             minimum per trade     only
10                charge per trade
11   Clearing     $250,000                    $250,000 to           100%
12   Deposit                                  $500,000
13
14         32.    During the following six weeks, the parties met in person and
15   exchanged multiple emails regarding the pricing proposal and purported notice of
16   termination. Moreover, during this period, DriveWealth conducted price discovery
17   with other counterparties and determined that the October 1, 2019 pricing proposal
18   from ETC was not only not in line with industry rates, but was not what Apex/ETC
19   was quoting to other counterparties.
20         33.    Thus, it was apparent that despite conciliatory language in their
21   termination letters, Defendants were not in fact interested in continuing to do
22   business with DriveWealth, unless Defendants could triple their rates and
23   guaranteed monthly minimum revenue.
24         34.    On or about November 15, 2019, DriveWealth advised all Defendants
25   that it would be transitioning its clearing business to Citibank, N.A.
26         35.    On November 20, 2019, Mr. Brennan confirmed receipt of the
27   transition notice, and confirmed that “de-conversions take time and effort so please
28   contact us as soon as possible to coordinate to ensure that the transfer goes
                                            7
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 1   smoothly. As we indicated previously, the new pricing will apply to any account
 2   that remains at ETC after the termination date.”
 3         36.    Notwithstanding that acknowledgement, Mr. Brennan, on the afternoon
 4   of Wednesday November 27, 2019, the day before the Thanksgiving holiday,
 5   emailed Mr. Cortright (with a copy to Mr. Capuzzi of Apex, at an ETC email
 6   address), demanding that the conversion be complete by December 13, 2019, or
 7   ETC may limit[] the account to no new positions or closing position only.” Mr.
 8   Brennan also threatened to limit the account if the total assets held in DriveWealth’s
 9   omnibus account at ETC exceeded $355 million.
10         37.    On Saturday, November 30, 2019, DriveWealth responded to the
11   November 27, 2019 email, recounting the timeline, reiterating its desire to promptly
12   transition to Citibank, and proposing a meeting for December 3 or December 4 to
13   “begin mapping out a conversion plan.”
14         38.    On December 2, 2019, ETC reiterated its position that the transition
15   “should” be complete by December 13, 2019, contended that the August 2019 OCA
16   was terminated, and that the proposed – but never agreed to – pricing was in effect.
17         39.    Despite its position that ETC does not have the right to unilaterally
18   change pricing one month after the new 12-month term began, in an effort to protect
19   itself and its customers, on December 4, 2019, DriveWealth proposed a 3 or 6
20   month contract, at the pricing terms proposed by ETC, in order to ensure that the
21   transition to Citibank could be effectuated smoothly. On December 5, 2019,
22   Defendants rejected this proposal, demanding a 1-year commitment.
23         40.    On December 6, 2019, Defendants advanced their already arbitrary and
24   capricious deadline from December 13 to December 11. Notably, the December 6
25   correspondence from William Brennan to Robert Cortright, was transmitted with
26   inline edits made by Jay Coppoletta, Legal Officer at PEAK6.
27   //
28   //
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 1                         Defendants’ Actions Threaten The Very
 2                           Existence of DriveWealth’s Business
 3         41.    Defendants know that DriveWealth cannot conduct business without a
 4   DTC Custodian.
 5         42.    Defendants’ threats are serious and threaten to put DriveWealth out of
 6   business. Any limitations placed on DriveWealth’s account will necessarily mean
 7   that DriveWealth’s IBs and, thus, the end retail customers will not be able to fully
 8   trade their own accounts. Even a temporary inability of this nature will likely result
 9   in many of DriveWealth’s existing correspondents moving to a competitor –
10   potentially to Defendant Apex, while harming DriveWealth’s ability to create
11   relationships with new IBs and causing DriveWealth to be unable to service
12   accounts for new and existing retail customers. This inability to fully trade existing
13   accounts and open new accounts will have a variety of regulatory implications, and
14   will quickly destroy DriveWealth’s business.
15         43.    On December 10, 2019, Plaintiff sought a temporary restraining order
16   (“TRO”) from Justice O. Peter Sherwood of the Supreme Court of the State of New
17   York. Recognizing the exigencies of the situation, Justice Sherwood issued a TRO,
18   in pertinent part, as follows:
19         ORDERED that pending the hearing in the State or Federal Court in
           Los Angeles, California on this order to show cause, Respondents, and
20
           all those acting in active concert with them, directly or indirectly, shall
21         be enjoined from taking any action during the pendency of the
           Arbitration that would otherwise interfere with Petitioner’s right to
22
           continue to conduct its business and to obtain services under the
23         August 2019 OCA in the same manner and at the same fees as it has
           done since the inception of the August 2019 OCA. This paragraph
24
           shall expire on 12/16/19 at 11:00pm, EST unless extended by order of
25         the California Court.
26         44.    The TRO was made subject to extension by the Courts in California
27   following Defendant’s counsel’s representation that all three Defendants would be
28   amenable to the jurisdiction of the State or Federal Court in Los Angeles County.
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 1          45.    DriveWealth believes that Defendants’ threats are genuine and that
 2   absent the entry of a temporary restraining order, DriveWealth’s business will be
 3   substantially and irreparably harmed on Monday, December 16, 2019, or sooner.
 4                                  FIRST CAUSE OF ACTION
 5                  (INJUNCTIVE RELIEF PENDING ARBITRATION)
 6          46.     DriveWealth re-alleges Paragraphs 1 through 45, inclusive, as though
 7   set forth in full.
 8          47.    DriveWealth and ETC, now controlled by Defendants PEAK6 and
 9   Apex, are parties to the August 2019 OCA.
10          48.    DriveWealth has fully and faithfully performed under the August 2019
11   OCA, including its payment obligations to Defendants.
12          49.    The August 2019 OCA provides the following term and termination
13   provision, in relevant part:
14                 a) The parties agree that this Agreement shall be in force
                   for a period of twelve (12) months from the Effective Date
15                 (“Contract Period”) and that there shall be no change in
                   the pricing schedule referred to in Paragraph 3 herein.
16                 Thereafter, the Agreement shall automatically renew for a
                   subsequent Contract Period, unless terminated pursuant to
17                 the terms of section 13(b) below.
18                 (b) This Agreement may be terminated by either party,
                   without cause, upon sixty (60) days’ written notice to the
19                 other party, prior to the expiration of the then current
                   Contract Period. Should Introducing Broker fail to provide
20                 timely notice, Introducing Broker may thereafter terminate
                   this Agreement at any time during the Contract Period, but
21                 agrees that it shall be liable and will pay to ETC all agreed
                   upon minimums for the remainder of the Contract Period.
22
            50.    Thus, by its own terms, the initial Contract Period of the August 2019
23
     OCA was to run from August 5, 2019 until August 5, 2020. During that initial
24
     Contract Period “there shall be no change in the pricing schedule” (emphasis
25
     added). Pursuant to the August 2019 OCA, “[t]hereafter” (emphasis added) the
26
     2019 OCA would automatically renew for another year, unless terminated no less
27
     than 60 days “prior to the expiration of the then current Contract Period.”
28
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 1         51.    The August 2019 OCA does not provide for termination during a
 2   Contract Period. Rather, the contract allows either party to decline the automatic
 3   renewal by providing notice by June 6, 2020 (60 days before the end of each
 4   Contract Period).
 5         52.    ETC has no contractual power to terminate the August 2019 OCA
 6   without cause at the very outset of a Contract Period, and thus, ETC is contractually
 7   required to provide DriveWealth with clearing services at the contracted rates up
 8   through and including August 5, 2020.
 9         53.    There is no provision in the August 2019 OCA permitting Defendants
10   to opt-out, or otherwise unilaterally demand that DriveWealth accept radically
11   different new financial terms more favorable to Defendants to continue to receive
12   the benefit of DriveWealth’s bargain.
13         54.    The August 2019 OCA does not permit Defendants to withhold
14   performance, or otherwise alter the August 2019 OCA’s terms, in retaliation for
15   DriveWealth’s refusal to accept new financial terms more favorable to Defendants.
16         55.    Defendants’ actions, as described, constitute a breach of the August
17   2019 OCA.
18         56.    Defendants’ breach of the August 2019 OCA threatens to destroy
19   DriveWealth’s business, and cause chaos for DriveWealth’s retail brokerage
20   customers who collectively maintain more than 1.5 million retail accounts with
21   DriveWealth.
22         57.    As such, money damages are an insufficient remedy.
23         58.    If Defendants’ continued efforts to breach the August 2019 OCA are
24   not enjoined in order to maintain the status quo pending the outcome of a
25   contractual arbitration, then DriveWealth will suffer significant irreparable harm,
26   including potentially going out of business, and the meaningfulness of the
27   arbitration will be vitiated.
28         59.    Plaintiff has initiated an arbitration as required by FINRA Rule
                                            11
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 1   13200(a) of the Industry Code. The instant Complaint is necessary to obtain a
 2   Temporary Restraining Order and Preliminary Injunction against Defendants to
 3   preserve the status quo pending the outcome of that arbitration.
 4
 5                                  PRAYER FOR RELIEF
 6         WHEREFORE, DriveWealth, LLC respectfully requests the Panel grant the
 7   following relief:
 8         (a)    An injunction enjoining Defendants, and all those acting in active
 9   concert with them, directly or indirectly, from breaching the August 2019 OCA,
10   unilaterally altering or changing the terms of the August 2019 OCA, and from
11   otherwise interfering with DriveWealth’s right to continue to conduct its business
12   under the terms of the August 2019 OCA during the balance of its term, including
13   maintaining the same new account and margin extension standards and parameters,
14   as it has done since the inception of the August 2019 OCA, until such time as a
15   FINRA arbitration panel has an opportunity to hold a hearing and issue a decision
16   on DriveWealth’s request for permanent injunctive relief in accordance with Rule
17   13804 of the FINRA Code of Arbitration Procedure for Industry Disputes; and
18         (b)    An award of such other or additional relief as this Court deems just,
19   equitable and proper.
20
21
      DATED: December 13, 2019
22
23                                               KELLEY DRYE & WARREN LLP
                                                 Tahir L. Boykins
24
25                                               By:   /s/ Tahir L. Boykins
                                                       Tahir L. Boykins
26                                               Attorneys for Defendant
                                                 DriveWealth, LLC
27
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                                              12
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